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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION

 OELRICH CONSTRUCTION, INC.,

        Plaintiff,
 vs.                                               CASE NO. 1:20-cv-169-RH-GRJ

 PRC PRECAST, LLC,

        Defendant/Counter-Plaintiff.

 vs.

 OELRICH CONSTRUCTION, INC.,
        Counter-Defendant.
                                         /

                               NOTICE OF APPEAL

       NOTICE IS GIVEN that Plaintiff/Counter-Defendant, Oelrich Construction,

Inc., appeals to the United States Court of Appeals for the Eleventh Circuit the Order

on Entitlement to Attorney’s Fees and Costs, dated March 8, 2022 (Doc. 112). See

28 U.S.C. § 1291. This notice is timely as it is being filed within 30 days of the entry

of the order appealed from. See Fed. R. App. P. 4(a)(1)(A).


                                             Warner, Sechrest & Butts, P.A.

                                             /s/ Robert P. Butts
                                             Robert P. Butts, Esq.
                                             Florida Bar No. 0096989
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                                             Florida Bar No. 0150710
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    Case 1:20-cv-00169-RH-GRJ Document 121 Filed 03/18/22 Page 2 of 2




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                        CERTIFICATE OF SERVICE

      I hereby certify that on March 18, 2022, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system. I certify that all

participants in the case are registered CM/ECF users, and that service will be

accomplished by the CM/ECF system to Counsel for the Defendant, PRC

PRECAST, LLC: D. Joseph Darr, Esq. (djd@kirwinnorris.com).




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